
41 So.3d 431 (2010)
Albert SPENCER, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-2084.
District Court of Appeal of Florida, Fifth District.
August 6, 2010.
Albert Spencer, Avon Park, pro se.
Bill McCollum, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying the motion for post-conviction relief in Case No. 05-2005-CF-052891-A, in the Circuit Court in and for Brevard County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, TORPY and LAWSON, JJ., concur.
